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16
                    UNITED STATES DISTRICT COURT
17        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
18
                                           Case Number: 2:22-cv-3397
19 SLICE, INC., a Delaware Corporation,
20                plaintiff,               PLAINTIFF’S NOTICE OF
      v.                                   INTERESTED PARTIES
21
   SAFEX, INC, an entity of unknown        LOCAL RULE 7.1-1
22
   incorporation,
23                defendant.               Action Filed: May 19, 2022
                                           Trial Date:   Not Set
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                                          1
                             NOTICE OF INTERESTED PARTIES
     Case 2:22-cv-03397-JFW-JC Document 4 Filed 05/19/22 Page 2 of 2 Page ID #:223




 1         Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for
 2 plaintiff, Slice, Inc., certifies that the following listed party (or parties) may have a
 3 pecuniary interest in the outcome of this case:
 4         SPH Acquisition, Inc., a Delaware corporation, is the owner of all
 5 outstanding shares of Slice, Inc.
 6         Pursuant to Fed. R. Civ. P. 7.1, the undersigned counsel for plaintiff further
 7 certifies that there is no parent corporation or any publicly held corporation that
 8 owns 10% or more of plaintiff’s stock.
 9         These representations are made to enable the Court to evaluate possible
10 disqualification or recusal.
11
12
13    Dated: May 19, 2022           ELLENOFF GROSSMAN AND SCHOLE LLP

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15
                                    By: /s/ Eric Landau
16                                      Eric Landau
17                                      Attorney for plaintiff

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                                NOTICE OF INTERESTED PARTIES
